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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                      ) Bankruptcy No. 22-20324-GLT
David A. Golupski and                       )
Maureen Y. Golupski,                        ) Chapter 11 (Subchapter V)
                    Debtors,                )
David A. Golupski and                       ) Hearing Date: 09/09/22 @ 10:30 a.m.
Maureen Y. Golupski,                        )
                    Movants,                ) Response Due: 08/29/22
              vs.                           )
PNC Bank, National Association; Newtek )
Small Business Finance, LLC;                )
The Office of the Lee County Tax Collector; )
Florida Department of Revenue,              )
                    Respondents.            ) Document No.

          ORDER CONFIRMING CHAPTER 11 SALE OF PROPERTY
  FREE AND CLEAR AND DIVESTED OF LIENS, CLAIMS AND ENCUMBRANCES

        AND NOW, this __day of ____________, 2022, on consideration of the Debtors’
Motion to Sell 8205 Woodbridge Pointe Drive, Fort Myers, Florida 33912 Free and Clear
of All Liens and Encumbrances and Claims to Thomas J. Lewis and Georgett A. Lewis,
19277 Birchdale Point Road, Brainerd, MN 56401 for $425,000.00, after a Zoom Video
Conference Hearing held, the Court finds:

          (1)    That service of the Notice of Hearing and Order setting hearing on said
Motion for Sale of real property free and divested of the interest of the co-owner, the
mortgages, liens and judgments of the above-named Respondents, was affected on the
following secured creditors whose liens are recited in said Motion for Sale, viz:

DATE OF SERVICE                                NAME OF LIENOR AND SECURITY
(Date of Each service)                         (Name and address of each including description
                                               of collateral)

August 10, 2022                                PNC Bank, N.A.
                                               c/o Brian C. Nicholas, Esquire
                                               KML Law Group, P.C.
                                               701 Market Street, Suite 5000
                                               Philadelphia, PA 19106
                                               bnicholas@kmllawgroup.com
                                               First Mortgage Lien
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August 10, 2022                                 PNC Bank, N.A.
                                                ATTN: Bankruptcy Department
                                                3232 Newmark Drive
                                                Miamisburg, OH 45342
                                                bankruptcy.claims.@pnc.com

August 10, 2022                                 Stephen R. Franks
                                                Manley Deas Kochalski, LLC
                                                P.O. Box 165028
                                                Columbus, OH 43216-5028
                                                amps@manleydeas.com

August 10, 2022                                 Newtek Small Business Finance, LLC
                                                c/o John J. Winter, Esquire
                                                Chartwell Law
                                                970 Rittenhouse Road, Suite 300
                                                Eagleville, PA 19403
                                                jwinter@chartwelllaw.com
                                                Second Mortgage lien

August 10, 2022                                 The Office of the Lee County Tax
                                                Collector
                                                2480 Thompson Street
                                                Ft Meyers FL 33901

August 10, 2022                                 Florida Department of Revenue
                                                5050 W Tennessee Street
                                                Tallahassee FL 32399-0112
                                                Attention: MS 3-2000

August 10, 2022                                 James S. Fellin, Esquire
                                                Subchapter V Trustee
                                                The Nottingham Group, LLC
                                                One Gateway Center, Suite 700
                                                420 Ft. Duquesne Blvd,
                                                Pittsburgh PA 15222
                                                jfellin@nottinghamgroup.com

         (2)    That sufficient general notice of said hearing and sale, together with the
Confirmation hearing thereon, was given to the creditors and parties in interest by the
moving party as shown by the certificate of service duly filed and that the named parties
were duly served with the Adversary Complaint to sell the fee simple interest. .

          (3)    That the said hearing was duly advertised on the Court’s website
pursuant to W.PA LBR 6004-1(c) on _______________, in the ___________on
______________ and in the legal journal on ___________, as shown by the Proof of
Publications duly filed.
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          (4)     That at the sale hearing the highest/best offer received was that of the
above Purchaser(s) and no objections to the sale were made which would result in
cancellation of said sale.

          (5)     That the price of $425,000.00 offered by Thomas J. Lewis and Georgett
A. Lewis was a full and fair price for the property in question for the interest of the Debtor
and the interest of the estate.

          (6)   That the Purchaser(s) has acted in good faith with respect to the within
sale in accordance with In re: Abbots Dairies of Pennsylvania, Inc., 788 F2d. 143 (3d Cir.
1986).

         Now therefore, IT IS ORDERED, ADJUDGED AND DECREED that the sale by
Special Warranty deed of the real property described as 8205 Woodbridge Pointe Drive,
Fort Myers, Florida 33912 is hereby CONFIRMED to Thomas J. Lewis and Georgett A.
Lewis, 19277 Birchdale Point Road, Brainerd, MN 56401 for $425,000.00, free and
divested of the above recited liens and claims, and, that the Movants are authorized to
make, execute and deliver to the Purchaser(s) above named the necessary deed and/or
other documents required to transfer title to the property purchased upon compliance with
the terms of sale.

          IT IS FURTHER ORDERED that ______________________________ shall
be designated as the back-up bidder. The hand money of the back-up bidder will
be held in escrow. If the original bidder does not close within 30 days of the Order
approving the sale, the original bidders hand money deposit will be forfeited as liquidated
damages; the back-up bidders will have 30 days to complete the sale and pay the balance
of the purchase price. The back-up bidders hand money deposit will be forfeited as
liquidated damages. For purposes of this provision, “time is of the essence” and the
deadline to close the sale will be strictly construed.

          IT IS FURTHER ORDERED that the above recited liens and claims, be, and
they hereby are, transferred to the proceeds of sale, if and to the extend they may be
determined to be valid liens against the sold property, that the within decreed sale shall
be free, clear and divested of said liens and claims.

         IT IS FURTHER ORDERED that the above sale is being conducted in
conjunction with the Debtor’s Chapter 11 subchapter V Plan and it is entitled to an
exemption form any state or local transfer taxes pursuant to 11 USC §1141.


          FURTHER ORDERED, that the following expenses/costs shall immediately be
paid at the time of closing. Failure of the Closing Agent to timely make and forward
the disbursements required by this Order will subject the closing agent to monetary
sanctions, including among other things, a fine or imposition of damages, after notice and
hearing, for failure to comply with the above terms of this Order.
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       (1)        The following lien(s)/claim(s) from the gross proceeds:

       (2)        Delinquent real estate taxes; if any; This charge shall be assessed
                  against the sale proceeds.

             a.   The allowed payoff of the first mortgage in favor of PNC Bank, in the
                  original amount of $148,000.00 and was recorded in the Office of the
                  Clerk of Circuit Court of Lee County, Florida on May 3, 2010, at
                  Mortgage Book as Instrument No. 2010000111110. This is a valid
                  first lien on the 8205 Woodbridge Property. The balance is subject to
                  verification and the Debtor reserves its right to challenge the claimed
                  amount due.

             b.   The allowed payoff of the second mortgage in favor of Newtek Small
                  Business Finance, LLC in the original amount of $4,027,000.00 and
                  was recorded in the Office of the Clerk of Circuit Court of Lee County,
                  Florida on August 8, 2017, at Mortgage Book as Instrument No.
                  2017000169129. Pursuant to the mortgage, Newtek asserts that the
                  maximum amount that the mortgage is intended and is LIMITED to
                  secure is $285,000.00. The balance is subject to the pending dispute
                  raised in the adversary and the Debtor reserves its right to challenge
                  the claimed amount due.

       (3)        On July 28 , 2022, the Debtors’ filed their Motion to Retain James
                  R. Higgins and SWFL Real Estate Experts as a realtor for this
                  transaction at the behest of Newtek. To the extent he is entitled to
                  any commission, Newtek shall be surcharged that amount under 11
                  U.S.C 506.

       (4)        Current real estate taxes, pro-rated to the date of closing; This
                  charge shall be assessed against the sale proceeds.

       (5)        The costs of local newspaper advertising in the amount of $______;
                  reimbursed to Calaiaro Valencik for their Court approved legal fees
                  and for by the Court for all costs and advertising expenses related to
                  this sale. This charge shall be assessed against the sale proceeds.

       (6)        The costs of legal journal advertising the amount of $______;
                  reimbursed to Calaiaro Valencik for their approved by the Court for
                  legal fees and for all costs and advertising expenses related to this
                  sale. This charge shall be assessed against the gross sale proceeds.

       (7)        The Court approved realtor commission in the amount of $________
                  to The Court approved realtor commission in the amount of
                  $________ and any other real broker entitled to any portion of the
                  commission.
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         (8)         The “net proceeds” from the closing as identified on the HUD-1 to
                     Calaiaro Valencik to be held in escrow pending further Order of
                     Court.

         (9)         Other:_____________________________________.

         (10)        If there is a dispute at time of closing, the settlement officer may pay
                     the undisputed claims at closing to in the order of their priority, and
                     then escrow the balance with Calaiaro Valencik and that amount will
                     be deposited into their IOLTA account until further order of this court.

         (11)        This Court reserves the jurisdiction over the sale and the proceeds
                     until they are distributed.


       FURTHER ORDERED that:

         (1)         Closing shall occur within thirty (30) days of this Order and within
                     five (5) days following closing, the Movant shall file a report of sale.

         (2)         This Sale Confirmation Order survives any dismissal or conversion
                     of the within case; and,

         (3)         Within five (5) days of the date of this Order, the Movant shall serve
                     a copy of the within Order on each Respondent (i.e., each party
                     against whom relief is sought) and its attorney of record, if any, upon
                     any attorney or party who answered the motion or appeared at the
                     hearing, the attorney for the debtor, the Purchaser, and the attorney
                     for the Purchase, if any, and file a certificate of service.

       IT IS FURTHER ORDERED THAT the Debtor will file a report of sale within 15
days of the closing. If the original bidder does not close the sale within the time allowed
by this sale order, the Debtor will file a notice and status court with this court.




                                                 ___________________________
                                                 Honorable Gregory L. Taddonio
                                                 United States Bankruptcy Judge
